6/14/2019                                                 Noble & Vrapi, P.A. Mail - Consulate email- 7/20/18



                                                                                                         Olsi Vrapi <olsi@noblelawfirm.com>



  Consulate email- 7/20/18
  Gabe Nosseir <gabe@internationalindoor.com>                                                                    Thu, Jun 13, 2019 at 5:23 PM
  To: Olsi Vrapi <olsi@noblelawfirm.com>



    Gabe Nosseir
    International Indoor Soccer Arena
    www.internationalindoor.com
        Facebook
        Twitter
    1311 Cuesta Arriba Ct. NE
    Albuquerque, NM
    87113
    505-266-3653
    fax: 505-266-3693



        -------- Original Message --------
        Subject: RE: Case number RDJ2016561006 Update
        From: "Immigration, Rio" <ImmigrationRio@state.gov>
        Date: Fri, July 20, 2018 7:02 am
        To: Mostafa Nosseir <mknosseir@gmail.com>
        Cc: Gabe Nosseir <gabe@internationalindoor.com>

        Dear Applicant:

        On the date of the interview the consular officer became aware of some elements of your case
        that need to be further researched before the eligibility for the visa can be determined. This office is
        currently working on these issues. Unfortunately, we cannot provide any further information at this
        moment. Please rest assured that your application will be given every consideration consistent with
        U.S. immigration laws and regulations. For additional information you may visit:
        https://travel.state.gov/content/visas/en/general/administrative-processing-information.html



        Atenciosamente,
        Best regards,

        Immigrant Visa Unit
        United States Consulate General
        Rio de Janeiro - RJ –Brazil
        br

        “Please note that the information regarding this visa case is protected from disclosure under Section
        222(f) of the INA, 8 U.S.C. 1202(f), and in accordance with that law, may only be used for the
        “formulation, amendment, administration, or enforcement of the immigration, nationality, or other
        laws of the United States and is consistent with INA Section 222(f), 8 U.S.C. 1202(f)”.


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https://mail.google.com/mail/u/0?ik=b3c24403f0&view=pt&search=all&permmsgid=msg-f%3A1636269534735468944&simpl=msg-f%3A1636269534735468944   1/2
6/14/2019                                                 Noble & Vrapi, P.A. Mail - Consulate email- 7/20/18


        From: Mostafa Nosseir [mailto:mknosseir@gmail.com]
        Sent: Thursday, July 19, 2018 3:50 PM
        To: Immigration, Rio
        Cc: Gabe Nosseir
        Subject: Case number RDJ2016561006 Update

        Dear Mr./Ms. Chief Immigration service

        Case Number: RDJ2016561006
        Visa type: IR5
        Beneficiary: NOSSEIR, Mostafa Kamel Hussein
        Petitioner: NOSSEIR, Gabriel
        Interview date: 19 September 2016

        Twenty two months have passed since my interview for Immigration visa took place.
        During the interview I was informed that all submitted documents had been accepted and I
        was requested to leave my passport in order to issue the Visa .

        Few days later I was requested to submit additional information which I did on same week.

        Since then, every time I requested update I was informed that the process is not concluded
        yet.

        With the advance of my age, I am really interested to spend the few remaining years living
        close to my only son and his family in Albuquerque, NM.

        Your update of the visa status will be highly appreciated.

        Best regards.

        Mostafa Nosseir, PhD
        Av. General Olyntho Pilar,355/ 1- 307
        Barra da Tijuca
        22793-610 rio de Janeiro-Brazil
        +55 21 2432 5194
        +55 21 98137 7996

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6/14/2019                                                 Noble & Vrapi, P.A. Mail - Consulate Letter 11/11/18



                                                                                                          Olsi Vrapi <olsi@noblelawfirm.com>



  Consulate Letter 11/11/18
  Gabe Nosseir <gabe@internationalindoor.com>                                                                     Thu, Jun 13, 2019 at 5:23 PM
  To: Olsi Vrapi <olsi@noblelawfirm.com>



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    International Indoor Soccer Arena
    www.internationalindoor.com
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        Twitter
    1311 Cuesta Arriba Ct. NE
    Albuquerque, NM
    87113
    505-266-3653
    fax: 505-266-3693



        -------- Original Message --------
        Subject: Re: Case #RDJ2016561006
        From: Gabriel Nosseir <exosu@hotmail.com>
        Date: Sun, November 11, 2018 10:40 pm
        To: "Immigration, Rio" <ImmigrationRio@state.gov>

        To whom it may concern:

        I received the attached letter, notifying my that my application for a visa for my father,
        Mostafa Nosseir, is being cancelled due to not applying for an immigrant visa. I did in fact
        apply for a visa, paid all fees, and completed the forms for USCIS and the NVC, with
        approval. In September 2016 my father had his interview at the consulate and the man
        who interviewed him said he would issue his immigrant visa and took his passport. Since
        then, we have received notification of my father's case is in "administrative processing"
        and another notification that there was further investigation that needed to be completed.

        I would like to make sure that his case is not being terminated. Please see the emails
        below from October 16, 2017, stating that his case was not being terminated at that time.
        Can you please confirm the case is still open?

        Also, if there is anything I can do to provide more information for you so we can move
        forward with his visa, please let me know. It has been over two years since verbal
        approval was given at the consulate in Rio. I understand the need for vetting people
        wanting to come to live in the US. My father entered and exited the US many times in the
        past with a tourist visa with no issue but now cannot even receive that due to this
        investigation. As he is now 75 years old and without family in Brazil, we very much want
        him here in Albuquerque with us.

        Please let me know if there is anything I can do.

        Sincerely,
        Gabriel Nosseir


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6/14/2019                                                 Noble & Vrapi, P.A. Mail - Consulate Letter 11/11/18




        From: Immigra on, Rio <ImmigrationRio@state.gov>
        Sent: Monday, October 16, 2017 11:47 AM
        To: Gabriel Nosseir
        Subject: RE: Case #RDJ2016561006

        Dear Sir or Madam:

        We apologize for the inconvenience. This case is not being terminated. The letter you
        received is automatically generated by the system. Please disregard it.

        Regards,


        Immigrant Visa Unit
        United States Consulate General
        Rio de Janeiro - RJ -Brazil
        psm




        Official - SBU
        UNCLASSIFIED

        From: Gabriel Nosseir [mailto:exosu@hotmail.com]
        Sent: Monday, October 16, 2017 1:01 PM
        To: Immigration, Rio
        Cc: mknosseir@gmail.com; Gabe Nosseir
        Subject: Case #RDJ2016561006

        To whom it may concern,

        I received the a ached le er on Friday, concerning the applica on for an immigrant visa for my
        father, Mostafa Kamel Hussein Nosseir (beneﬁciary). The le er states you are going to cancel the
        applica on and the pe on as per Sec on 203(e) of the Immigra on and Na onality Act,
        speciﬁcally sta ng you all believe it has been one year since we did not apply for the immigrant
        visa.

        I am wri ng to state that we did in fact apply for the visa, star ng the process with USCIS in June
        2015, and receiving approval in February of 2016. We then immediately completed all the
        paperwork with the NVC, which we received conﬁrma on of approval on March 2, 2016. My
        father then had his interview at the Consulate in Rio on September 19, 2016. Proof is here on this
        document- https://drive.google.com/file/d/0B7_eGATrcmBbQlBrZmVxLXY4a1k/view


                                                                         IR5 Interview
                                                                         confirmtion.bmp
                                                                         drive.google.com

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6/14/2019                                                 Noble & Vrapi, P.A. Mail - Consulate Letter 11/11/18




        During the interview my father was informed that all required documents were accepted and that
        his immigra on visa will be processed. The man interviewing him took his passport and cancelled
        his tourist visa, which my father had previously. Shortly a er the interview my father received
        no ce to answer more ques ons, which he submi ed the very next day.

        Since the interview and verbal approval more than one year ago, we have heard nothing regarding
        the status of his visa, only that it is in "administra ve processing". My father asked for his passport
        back, which was granted, un l the processing was over.

        Can you please clarify why we received this le er and what the status of my father's immigrant visa
        is?

        Sincerely,
        Gabriel Nosseir (pe        oner)


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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 1/24/19



                                                                                                          Olsi Vrapi <olsi@noblelawfirm.com>



  Consulate Letter 1/24/19
  Gabe Nosseir <gabe@internationalindoor.com>                                                                     Thu, Jun 13, 2019 at 5:23 PM
  To: Olsi Vrapi <olsi@noblelawfirm.com>



    Gabe Nosseir
    International Indoor Soccer Arena
    www.internationalindoor.com
        Facebook
        Twitter
    1311 Cuesta Arriba Ct. NE
    Albuquerque, NM
    87113
    505-266-3653
    fax: 505-266-3693



        -------- Original Message --------
        Subject: RE: Case Number RDJ2016561006 . Mostafa NOSSEIR
        From: "Immigration, Rio" <ImmigrationRio@state.gov>
        Date: Thu, January 24, 2019 5:35 am
        To: Mostafa Nosseir <mknosseir@gmail.com>, Gabe Nosseir
        <gabe@internationalindoor.com>, Gabriel Nosseir <exosu@hotmail.com>,
        mknosseirbr <mknosseirbr@yahoo.com>

        Dear Applicant:
        On the date of the interview the consular officer became aware of some elements of your case
        that need to be further researched before the eligibility for the visa can be determined. This office is
        currently working on these issues. Unfortunately, we cannot provide any further information at this
        moment. Please rest assured that your application will be given every consideration consistent with
        U.S. immigration laws and regulations. For additional information you may visit:
        https://travel.state.gov/content/visas/en/general/administrative-processing-information.html

        Xxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxxx

        Caro (a) Requerente,

        No dia da entrevista, o oficial consular tomou conhecimento de fatos relacionados a este
        processo que requerem verificação mais detalhada, antes que a elegibilidade da emissão do visto
        seja determinada. Este escritório está trabalhando nestes fatos. Infelizmente não podemos
        fornecer maiores detalhes sobre o assunto neste momento. Por favor, tenha certeza de que sua
        solicitação receberá toda consideração de acordo com as leis e regulamentos da Imigração
        Americana. Informações adicionais podem ser encontradas: https://travel.state.gov/
        content/visas/en/general/administrative-processing-information.html




        Atenciosamente,
        Best regards,

        Immigrant Visa Unit

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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 1/24/19

        United States Consulate General
        Rio de Janeiro - RJ –Brazil
        br

        “Please note that the information regarding this visa case is protected from disclosure under Section
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        “formulation, amendment, administration, or enforcement of the immigration, nationality, or other
        laws of the United States and is consistent with INA Section 222(f), 8 U.S.C. 1202(f)”.




        From: Mostafa Nosseir [mailto:mknosseir@gmail.com]
        Sent: Tuesday, January 22, 2019 4:55 PM
        To: Immigration, Rio; Gabe Nosseir; Gabriel Nosseir; mknosseirbr
        Subject: Case Number RDJ2016561006 . Mostafa NOSSEIR

        Dear Mr./Ms. Chief Immigration service

        Case no. RDJ2016561006
        Petitioner: Gabriel NOSSEIR
        Beneficiary: Mostafa Kamel Hussein NOSSEIR

        1) Please be informed that my present national (Brazilian) passport's number is FX
        881456, issued on 11 January 2019 and valid till 10 January 2029. This is a substitution of
        my previous passport number FP 520724 , as its pages are now full.
        Appreciate your action to update your records.

        2) Twenty four months have passed since my interview took place on 19 September 2016.
        During that interview I was informed that all required documents had been accepted and
        immigration visa IR5 would be stamped in my passport. Additional information was
        requested on 26/09/2016 which I also submitted on the following day.

        Since then, every time I inquire about the status of this case I was informed that it is still
        under administrative process.

        My concern is that I am now 76 years old and my only desire is to spend my remaining few
        years living close to my son and grand son who are the only remaining family members.

        I would be extremely grateful if you can examine the status of this case and update me .
        Best regards.

        Mostafa Nosseir, PhD
        Av. General Olyntho Pilar,355/ 1- 307
        Barra da Tijuca
        22793-610 rio de Janeiro-Brazil
        +55 21 2432 5194
        +55 21 98137 7996




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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 3/1/19



                                                                                                          Olsi Vrapi <olsi@noblelawfirm.com>



  Consulate Letter 3/1/19
  Gabe Nosseir <gabe@internationalindoor.com>                                                                     Thu, Jun 13, 2019 at 5:23 PM
  To: Olsi Vrapi <olsi@noblelawfirm.com>



    Gabe Nosseir
    International Indoor Soccer Arena
    www.internationalindoor.com
        Facebook
        Twitter
    1311 Cuesta Arriba Ct. NE
    Albuquerque, NM
    87113
    505-266-3653
    fax: 505-266-3693



        -------- Original Message --------
        Subject: RE: CASE RDJ2016561006 Mostafa NOSSEIR
        From: "Immigration, Rio" <ImmigrationRio@state.gov>
        Date: Fri, March 01, 2019 9:53 am
        To: Mostafa Nosseir <mknosseir@gmail.com>
        Cc: Gabe Nosseir <gabe@internationalindoor.com>, "mknosdeirbr@yahoo.com"
        <mknosdeirbr@yahoo.com>, Gabriel Nosseir <exosu@hotmail.com>

        Dear Applicant:
        On the date of the interview the consular officer became aware of some elements of your case
        that need to be further researched before the eligibility for the visa can be determined. This office is
        currently working on these issues. Unfortunately, we cannot provide any further information at this
        moment. Please rest assured that your application will be given every consideration consistent with
        U.S. immigration laws and regulations. For additional information you may visit:
        https://travel.state.gov/content/visas/en/general/administrative-processing-information.html

        Atenciosamente,
        Best regards,

        Immigrant Visa Unit
        United States Consulate General
        Rio de Janeiro - RJ –Brazil
        br

        “Please note that the information regarding this visa case is protected from disclosure under Section
        222(f) of the INA, 8 U.S.C. 1202(f), and in accordance with that law, may only be used for the
        “formulation, amendment, administration, or enforcement of the immigration, nationality, or other
        laws of the United States and is consistent with INA Section 222(f), 8 U.S.C. 1202(f)”.




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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 3/1/19

        From: Mostafa Nosseir [mailto:mknosseir@gmail.com]
        Sent: Thursday, February 28, 2019 12:40 AM
        To: Immigration, Rio
        Cc: Gabe Nosseir; mknosdeirbr@yahoo.com; Gabriel Nosseir
        Subject: CASE RDJ2016561006 Mostafa NOSSEIR

        Case : RDJ2016561006
        Petitioner: Gabriel NOSSEIR
        Beneficiary: Mostafa Kamel Hussein NOSSEIR

        Dear Chief Visa immigration Unit

        Please refer to your email on January, 28 , 2019 requesting me to contact you regarding
        the status of my IR5 visa.
        Hope that you are , now, in a position to update me on the status and expected date for
        finalizing this process.

        Looking forward to hear .
        Best regards..

        Mostafa Nosseir, PhD
        Av. General Olyntho Pilar,355/ 1- 307
        Barra da Tijuca
        22793-610 rio de Janeiro-Brazil
        +55 21 2432 5194
        +55 21 98137 7996




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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 3/14/19



                                                                                                          Olsi Vrapi <olsi@noblelawfirm.com>



  Consulate Letter 3/14/19
  1 message

  Gabe Nosseir <gabe@internationalindoor.com>                                                                     Thu, Jun 13, 2019 at 5:23 PM
  To: Olsi Vrapi <olsi@noblelawfirm.com>



    Gabe Nosseir
    International Indoor Soccer Arena
    www.internationalindoor.com
        Facebook
        Twitter
    1311 Cuesta Arriba Ct. NE
    Albuquerque, NM
    87113
    505-266-3653
    fax: 505-266-3693



        -------- Original Message --------
        Subject: Re: CASE RDJ2016561006 Mostafa NOSSEIR
        From: Mostafa Nosseir <mknosseir@gmail.com>
        Date: Thu, March 14, 2019 11:21 am
        To: "Immigration, Rio" <ImmigrationRio@state.gov>
        Cc: Gabe Nosseir <gabe@internationalindoor.com>, Gabriel Nosseir
        <exosu@hotmail.com>, mknosseirbr <mknosseirbr@yahoo.com>

        Dear Chief Immigration Visa Unit

        Case : RDJ2016561006
        Petitioner: Gabriel NOSSEIR
        Beneficiary: Mostafa Kamel Hussein NOSSEIR
        Interview date: September, 19 , 2016

        This is to refer to the above mentioned case which is still ending for further investigation . Since the date of
        my interview and after submission of the requested additional information, I had been inquiring about the
        status of my visa approval.The replies from your office were always informing that the status is still pending
        further investigations.On January 28 , 2019 I received an email from your office requesting me to contact you
        after one month for more information about the visa status.I did that on February 28th 2019, with the
        expectation that your decision is coming closer to its conclusion . The reply on March 1 2019 indicated that
        my case needs to be further researched . I am really hoping that by now you have more information
        regarding this pending case.Best regards.

        Mostafa Nosseir, PhD
        Av. General Olyntho Pilar,355/ 1- 307
        Barra da Tijuca
        22793-610 rio de Janeiro-Brazil
        +55 21 2432 5194
        +55 21 98137 7996

        ---------- Forwarded message ---------
        From: Immigration, Rio <ImmigrationRio@state.gov>
        Date: Fri, Mar 1, 2019, 13:54
        Subject: RE: CASE RDJ2016561006 Mostafa NOSSEIR
https://mail.google.com/mail/u/0?ik=b3c24403f0&view=pt&search=all&permthid=thread-f%3A1636269579215482758&simpl=msg-f%3A1636269579215482758   1/3
6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 3/14/19
        To: Mostafa Nosseir <mknosseir@gmail.com>
        Cc: Gabe Nosseir <gabe@internationalindoor.com>, mknosdeirbr@yahoo.com <mknosdeirbr@yahoo.com>,
        Gabriel Nosseir <exosu@hotmail.com>


        Dear Applicant:
        On the date of the interview the consular officer became aware of some elements of your case
        that need to be further researched before the eligibility for the visa can be determined. This office is
        currently working on these issues. Unfortunately, we cannot provide any further information at this
        moment. Please rest assured that your application will be given every consideration consistent with
        U.S. immigration laws and regulations. For additional information you may visit:
        https://travel.state.gov/content/visas/en/general/administrative-processing-information.html

        Atenciosamente,
        Best regards,

        Immigrant Visa Unit
        United States Consulate General
        Rio de Janeiro - RJ –Brazil
        br

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        222(f) of the INA, 8 U.S.C. 1202(f), and in accordance with that law, may only be used for the
        “formulation, amendment, administration, or enforcement of the immigration, nationality, or other
        laws of the United States and is consistent with INA Section 222(f), 8 U.S.C. 1202(f)”.

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            cid:image003.png@01D41DED.77DB9180 cid:image004.png@01D41DED.77DB9180
            cid:image005.png@01D41DED.77DB9180 cid:image006.jpg@01D41DED.77DB9180
            cid:image007.jpg@01D41DED.77DB9180

        From: Mostafa Nosseir [mailto:mknosseir@gmail.com]
        Sent: Thursday, February 28, 2019 12:40 AM
        To: Immigration, Rio
        Cc: Gabe Nosseir; mknosdeirbr@yahoo.com; Gabriel Nosseir
        Subject: CASE RDJ2016561006 Mostafa NOSSEIR

        Case : RDJ2016561006
        Petitioner: Gabriel NOSSEIR
        Beneficiary: Mostafa Kamel Hussein NOSSEIR

        Dear Chief Visa immigration Unit

        Please refer to your email on January, 28 , 2019 requesting me to contact you regarding
        the status of my IR5 visa.
        Hope that you are , now, in a position to update me on the status and expected date for
        finalizing this process.

        Looking forward to hear .
        Best regards..

        Mostafa Nosseir, PhD
        Av. General Olyntho Pilar,355/ 1- 307
        Barra da Tijuca
        22793-610 rio de Janeiro-Brazil
        +55 21 2432 5194
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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 3/14/19

        +55 21 98137 7996


     7 attachments


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                 image001.jpg
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               image006.jpg
               2K


                image002.png
                4K


               image004.png
               4K


               image003.png
               2K




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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 5/14/19



                                                                                                          Olsi Vrapi <olsi@noblelawfirm.com>



  Consulate Letter 5/14/19
  1 message

  Gabe Nosseir <gabe@internationalindoor.com>                                                                     Thu, Jun 13, 2019 at 5:24 PM
  To: Olsi Vrapi <olsi@noblelawfirm.com>



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    505-266-3653
    fax: 505-266-3693



        -------- Original Message --------
        Subject: RE: CASE RDJ2016561006 Mostafa NOSSEIR
        From: "Immigration, Rio" <ImmigrationRio@state.gov>
        Date: Tue, May 14, 2019 10:37 am
        To: Gabriel Nosseir <exosu@hotmail.com>, Mostafa Nosseir
        <mknosseir@gmail.com>
        Cc: Gabe Nosseir <gabe@internationalindoor.com>, "mknosdeirbr@yahoo.com"
        <mknosdeirbr@yahoo.com>, Gabe Nosseir <gabe@internationalindoor.com>

        Dear Applicant,

        Currently, your case is under additional administrative processing, which must be finished before a
        determination may be made on your case.
        We will work towards completing our processing of your case as soon as possible. However, we
        cannot predict how long this will take due to different circumstances that involve each case.

        We realize that these extended waiting periods can be frustrating, and we are sensitive to the fact
        that the purpose of the immigrant visa is to provide the opportunity to non-us citizens to immigrate to
        the United States. Nevertheless, the U.S. Consulate in Rio de Janeiro, like all U.S. Embassies and
        Consulates, must adjudicate visas in accordance with the provisions of U.S. immigration law. In
        some cases, this involves extensive administrative processing.

        We will contact you as soon as we have finished this stage. Meanwhile, your patience is very much
        appreciated. For additional information you may visit: https://travel.state.gov/
        content/visas/en/general/administrative-processing-information.html




        Atenciosamente,
        Best regards,




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6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 5/14/19

                              Immigrant Visa Unit
                              Consular Communications and Outreach
                              U.S. Consulate General | Rio de Janeiro
                              br




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        U.S.C. 1202(f), and in accordance with that law, may only be used for the “formulation, amendment, administration, or
        enforcement of the immigration, nationality, or other laws of the United States and is consistent with INA Section 222(f), 8
        U.S.C. 1202(f)”.




        From: Gabriel Nosseir [mailto:exosu@hotmail.com]
        Sent: Monday, May 13, 2019 11:25 PM
        To: Immigration, Rio; Mostafa Nosseir
        Cc: Gabe Nosseir; mknosdeirbr@yahoo.com; Gabe Nosseir
        Subject: Re: CASE RDJ2016561006 Mostafa NOSSEIR

        To whom it may concern,

        My name is Gabriel Nosseir and I am the pe oner for Mostafa Nosseir to obtain his sponsored
        visa. It has been nearly three years since we received approval from USCIS, NVC, and also verbal
        approval during his interview at the consulate in Rio. Ever since that interview we have been in
        "administra ve processing".

        I sincerely understand the need and importance to research all non-US ci zens who seek to obtain
        this sponsored visa. I humbly ask either to ﬁnd out more informa on or to speed up this process as
        my father is now 76 years old. I am his only child and it is my desire to be able to spend as much
          me with him as possible and to have my son be able to get to know his grandfather be er and to
        be with him more frequently.

        My dad has been to the US many mes in the past on a tourist visa, which was taken away from his
        passport and now is unobtainable due to the administra ve processing. We bought an apartment
        for him in late 2015 with the idea that he would be able to come back into the country within a few
        months. Now it sits empty with the hope that he will be approved for his visa.

        If there is any informa on I can provide to help move this process forward, please let me know.

        Sincerely,
        Gabriel Nosseir
        Cell- 1-505-550-1784


        From: Immigra on, Rio <ImmigrationRio@state.gov>
        Sent: Friday, March 1, 2019 9:53 AM
        To: Mostafa Nosseir
        Cc: Gabe Nosseir; mknosdeirbr@yahoo.com; Gabriel Nosseir
        Subject: RE: CASE RDJ2016561006 Mostafa NOSSEIR

        Dear Applicant:


https://mail.google.com/mail/u/0?ik=b3c24403f0&view=pt&search=all&permthid=thread-f%3A1636269590928067888&simpl=msg-f%3A1636269590928067888   2/4
6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 5/14/19
        On the date of the interview the consular officer became aware of some elements of your case
        that need to be further researched before the eligibility for the visa can be determined. This office is
        currently working on these issues. Unfortunately, we cannot provide any further information at this
        moment. Please rest assured that your application will be given every consideration consistent with
        U.S. immigration laws and regulations. For additional information you may visit:
        https://travel.state.gov/content/visas/en/general/administrative-processing-information.html


        Atenciosamente,

        Best regards,



        Immigrant Visa Unit

        United States Consulate General

        Rio de Janeiro - RJ –Brazil

        br



        “Please note that the information regarding this visa case is protected from disclosure under Section
        222(f) of the INA, 8 U.S.C. 1202(f), and in accordance with that law, may only be used for the
        “formulation, amendment, administration, or enforcement of the immigration, nationality, or other
        laws of the United States and is consistent with INA Section 222(f), 8 U.S.C. 1202(f)”.




        From: Mostafa Nosseir [mailto:mknosseir@gmail.com]
        Sent: Thursday, February 28, 2019 12:40 AM
        To: Immigration, Rio
        Cc: Gabe Nosseir; mknosdeirbr@yahoo.com; Gabriel Nosseir
        Subject: CASE RDJ2016561006 Mostafa NOSSEIR



        Case : RDJ2016561006

        Petitioner: Gabriel NOSSEIR

        Beneficiary: Mostafa Kamel Hussein NOSSEIR



        Dear Chief Visa immigration Unit



        Please refer to your email on January, 28 , 2019 requesting me to contact you regarding the status of my IR5
        visa.


https://mail.google.com/mail/u/0?ik=b3c24403f0&view=pt&search=all&permthid=thread-f%3A1636269590928067888&simpl=msg-f%3A1636269590928067888   3/4
6/14/2019                                                  Noble & Vrapi, P.A. Mail - Consulate Letter 5/14/19
        Hope that you are , now, in a position to update me on the status and expected date for finalizing this process.



        Looking forward to hear .

        Best regards..



        Mostafa Nosseir, PhD

        Av. General Olyntho Pilar,355/ 1- 307

        Barra da Tijuca

        22793-610 rio de Janeiro-Brazil
        +55 21 2432 5194
        +55 21 98137 7996




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